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 8

 9                               UNITED STATES DISTRICT COURT

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11                         NORTHERN DISTRICT OF CALIFORNIA

12
      SEMICONDUCTOR GLOBAL                         Case No. 4:25-cv-04075-HSG
13    SOLUTIONS,
                                                   [PROPOSED] ORDER GRANTING
14                  Plaintiff,                     MOTION BY DEFENDANTS CAPITAL
                                                   ASSET EXCHANGE & TRADING LLC,
15          v.                                     CAE ONLINE LLC, RYAN JACOB, AND
                                                   JEFFREY ROBBINS TO STAY ACTION
16    CAPITAL ASSET EXCHANGE &                     PENDING DETERMINATION BY OFFICE
      TRADING LLC; CAE ONLINE LLC;                 OF FOREIGN ASSETS CONTROL
17    RYAN FRANZKE JACOB, individually;
      and JEFFREY SCOTT ROBBINS,                   Hearing Date: July 31, 2025
18    individually,                                Hearing Time: 2:00 p.m.
                                                   Courtroom: 2
19                  Defendants.                    Judge: Hon. Haywood S. Gilliam, Jr.

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                                     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO STAY
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 1                     [PROPOSED] ORDER GRANTING MOTION TO STAY

 2          The motion by Defendants Capital Asset Exchange & Trading LLC (“CAET”), CAE

 3   Online LLC, Ryan Jacob, and Jeffrey Robbins (collectively, “Defendants”) to stay this action

 4   pending the determination by the United States Treasury Department’s Office of Foreign Assets

 5   Control (“OFAC”) regarding CAET’s application for a license to refund the payment at issue in

 6   this action by Plaintiff Semiconductor Global Solutions (“SGS”) came on regularly for a hearing

 7   in the above-entitled Court on July 31, 2025.

 8          Having considered the papers and arguments presented by Defendants and SGS regarding

 9   the foregoing motion, and good cause appearing, it is hereby ORDERED that this action shall be

10   STAYED until such time as CAET receives a determination by OFAC regarding CAET’s

11   application for a license to refund the payment by SGS at issue in this action.

12          IT IS SO ORDERED.

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14    Dated: _____________________              ____________________________________
                                                Hon. Haywood S. Gilliam, Jr.
15                                              United States District Judge
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                                        [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO STAY
